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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                                  )
In re:                                                            )    Chapter 11
                                                                  )
YELLOW CORPORATION, et al.,1                                      )    Case No. 23-11069 (CTG)
                                                                  )
                             Debtors.                             )    (Jointly Administered)
                                                                  )

                                                        Objection Deadline: September 8, 2023 at 4:00 p.m. (ET)
                                                           Hearing Date: September 15, 2023 at 11:30 a.m. (ET)

                        NOTICE OF HEARING ON
                   MOTION OF DEBTORS FOR ENTRY OF
               AN ORDER (I) AUTHORIZING THE DEBTORS TO
        RETAIN AND COMPENSATE PROFESSIONALS UTILIZED IN THE
     ORDINARY COURSE OF BUSINESS AND (II) GRANTING RELATED RELIEF

                 PLEASE TAKE NOTICE that, on August 31, 2023, the above-captioned

debtors and debtors in possession (collectively, the “Debtors”), filed the Motion of Debtors for

Entry of an Order (I) Authorizing the Debtors to Retain and Compensate Professionals Utilized

in the Ordinary Course of Business and (II) Granting Related Relief (the “Motion”) with the

United States Bankruptcy Court for the District of Delaware, 824 Market Street, 3rd Floor,

Wilmington, Delaware 19801 (the “Bankruptcy Court”). A copy of the Motion is attached

hereto.

                 PLEASE TAKE FURTHER NOTICE that any response or objection to the

Motion must be filed with the Bankruptcy Court on or before September 8, 2023 at 4:00 p.m.

prevailing Eastern Time.




1
    A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
    claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of the Debtors’ principal
    place of business and the Debtors’ service address in these chapter 11 cases is: 11500 Outlook Street, Suite 400,
    Overland Park, Kansas 66211.



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                 PLEASE TAKE FURTHER NOTICE that at the same time, you must also

serve a copy of the response or objection upon: (i) the Debtors, Yellow Corporation, 11500

Outlook Street, Suite 400, Overland Park, Kansas 66211, Attn.: General Counsel; (ii) proposed

counsel to the Debtors, (A) Kirkland & Ellis LLP, 300 North LaSalle, Chicago, Illinois, 60654,

Attn.: Whitney Fogelberg (whitney.fogelberg@kirkland.com) and Kirkland & Ellis LLP, 601

Lexington      Avenue,       New   York,     New        York     10022,    Attn.:   Allyson   B.   Smith

(allyson.smith@kirkland.com) and (B) Pachulski Stang Ziehl & Jones LLP, 919 North Market

Street, 17th Floor, PO Box 8705, Wilmington, Delaware 19801, Attn.: Laura Davis Jones

(ljones@pszjlaw.com),        Timothy   P.     Cairns      (tcairns@pszjlaw.com),      Peter   J.   Keane

(pkeane@pszjlaw.com), and Edward Corma (ecorma@pszjlaw.com); (iii) the Office of United

States Trustee for the District of Delaware, 844 King Street, Suite 2207, Lockbox 35,

Wilmington, Delaware 19801, Attn.:           Jane Leamy (jane.m.leamy@usdoj.gov) and Richard

Shepacarter (richard.shepacarter@usdoj.gov); and (iv) proposed counsel to the Committee,

(A) Akin Gump Strauss Hauer & Feld LLP, One Bryant Park, Bank of America Tower, New

York, NY 10036-6745 US, Attn.: Philip C. Dublin (pdublin@akingump.com), Meredith A.

Lahaie     (mlahaie@akingump.com),          and       Kevin    Zuzolo     (kzuzolo@akingump.com)     and

(B) proposed co-counsel to the Committee, Benesch Friedlander Coplan & Aronoff LLP, 1313

North Market Street, Suite 1201, Wilmington, DE, 19801, Attn.: Jennifer R. Hoover

(jhoover@beneschlaw.com) and Kevin M. Capuzzi (kcapuzzi@beneschlaw.com).

                 PLEASE TAKE FURTHER NOTICE THAT IF YOU FAIL TO RESPOND IN

ACCORDANCE WITH THIS NOTICE, THE COURT MAY GRANT THE RELIEF

REQUESTED BY THE MOTION WITHOUT FURTHER NOTICE OR HEARING.




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                 PLEASE TAKE FURTHER NOTICE THAT A HEARING TO CONSIDER

THE RELIEF SOUGHT IN THE MOTION WILL BE HELD ON SEPTEMBER 15, 2023 AT

11:30 A.M. PREVAILING EASTERN TIME BEFORE THE HONORABLE CRAIG T.

GOLDBLATT, UNITED STATES BANKRUPTCY COURT JUDGE, AT THE UNITED

STATES BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE, 824 MARKET

STREET, 3RD FLOOR, COURTROOM NO. 7, WILMINGTON, DELAWARE 19801.

Dated: August 31, 2023
Wilmington, Delaware

/s/ Laura Davis Jones
Laura Davis Jones (DE Bar No. 2436)        Patrick J. Nash Jr., P.C. (admitted pro hac vice)
Timothy P. Cairns (DE Bar No. 4228)        David Seligman, P.C. (admitted pro hac vice)
Peter J. Keane (DE Bar No. 5503)           Whitney Fogelberg (admitted pro hac vice)
Edward Corma (DE Bar No. 6718)             KIRKLAND & ELLIS LLP
PACHULSKI STANG ZIEHL & JONES LLP          KIRKLAND & ELLIS INTERNATIONAL LLP
919 North Market Street, 17th Floor        300 North LaSalle
P.O. Box 8705                              Chicago, Illinois 60654
Wilmington, Delaware 19801                 Telephone:       (212) 446-4800
Telephone:      (302) 652-4100             Facsimile:       (212) 446-4900
Facsimile:      (302) 652-4400             Email:           patrick.nash@kirkland.com
Email:          ljones@pszjlaw.com                          david.seligman@kirkland.com
                tcairns@pszjlaw.com                         whitney.fogelberg@kirkland.com
                pkeane@pszjlaw.com
                ecorma@pszjlaw.com         -and-

                                           Allyson B. Smith (admitted pro hac vice)
                                           KIRKLAND & ELLIS LLP
                                           KIRKLAND & ELLIS INTERNATIONAL LLP
                                           601 Lexington Avenue
                                           New York, New York 10022
                                           Telephone:     (212) 446-4800
                                           Facsimile:     (212) 446-4900
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                                           Proposed Co-Counsel for the Debtors and Debtors in
                                           Possession




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